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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 20-CV-81205-RAR

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   v.

   COMPLETE BUSINESS SOLUTIONS
   GROUP, INC. d/b/a PAR FUNDING, et al.

         Defendants.
   ______________________________________/

           RECEIVER, RYAN K. STUMPHAUZER’S RESPONSE IN OPPOSITION
         TO DEFENDANT DEAN VAGNOZZI’S MOTION TO REFER DISPUTE TO
         SETTLEMENT CONFERENCE BEFORE MAGISTRATE JUDGE BRUCE E.
          REINHART CONCERNING PROSECUTION OF LEGAL MALPRACTICE
             CLAIMS AGAINST ECKERT SEAMANS AND JOHN PAUCIULO

          Ryan K. Stumphauzer, Esq., Court-Appointed Receiver (“Receiver”) of the Receivership

   Entities, by and through his undersigned counsel, files this response in opposition to Defendant,

   Dean Vagnozzi’s (“Vagnozzi”) Motion to Refer Dispute to Settlement Conference Before

   Magistrate Judge Bruce E. Reinhart Concerning Prosecution of Legal Malpractice Claims against

   Eckert Seamans and John Pauciulo [ECF No. 1348] (the “Motion”), and states:

          1.        In the Motion, Vagnozzi requests the Court to order the parties to participate in a

   settlement conference before Magistrate Judge Bruce E. Reinhart regarding two issues: (a)

   Vagnozzi’s request to lift the litigation stay so that Vagnozzi can pursue claims against Eckert

   Seamans and John Pauciulo (“Lifting the Stay”); and (b) a proposed global settlement between

   and among the Receiver, Vagnozzi, Eckert Seamans, and John Pauciulo (the “Global Settlement

   Discussions”).




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            2.     The Receiver does not believe that the proposed settlement conference would be

   helpful or appropriate at this time.

            3.     As for Lifting the Stay, the Receiver does not agree with Vagnozzi that it would be

   in the best interest of the Receivership Estate to lift the Litigation Stay to permit Vagnozzi to

   pursue his proposed claims against Eckert Seamans and Mr. Pauciulo. The Receiver has already

   engaged in extensive discussions with counsel for Vagnozzi regarding this request. Further

   discussions, including a settlement conference, will not change the Receiver’s position.

            4.     As for the proposed Global Settlement Discussions, the Receiver has discussed this

   proposal with counsel for Eckert Seamans and Mr. Pauciulo. Neither Eckert Seamans nor Mr.

   Pauciulo are parties to this litigation and, therefore, their participation in the proposed Global

   Settlement Discussions would need to be on a voluntary basis. Counsel for Eckert Seamans and

   Mr. Pauciulo have indicated that it would be premature to engage in Global Settlement

   Discussions. As one example, they have indicated that it would be important to know the total

   amount of disgorgement and penalties the Court assesses against the Defendants in this action

   before their clients would potentially be in a position to discuss a potential resolution of the various

   claims against Eckert Seamans and Mr. Pauciulo. Although the Receiver believes that a settlement

   conference could be productive if the appropriate parties were in attendance, because neither

   Eckert Seamans nor Mr. Pauciulo will voluntarily take part in the proposed Global Settlement

   Discussions at the current time, the Receiver does not believe it would be worthwhile for the

   Receiver and Vagnozzi to participate in a settlement conference before Judge Reinhart on this

   issue.

            WHEREFORE, the Receiver respectfully requests that the Court deny the Motion, without

   prejudice.




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   Dated: August 19, 2022                             Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 19, 2022, I electronically filed the foregoing

   document with the clerk of the Court using CM/ECF. I also certify that the foregoing document is

   being served this day on counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.

                                                      /s/ Timothy A. Kolaya
                                                      TIMOTHY A. KOLAYA



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